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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

ISAIAH CAMPOS, individually and on behalf         )
of a class,                                       )
                                                  )
             PLAINTIFF,                           )
                                                  )      Civil Action No. 18-cv-03299
             v.                                   )
                                                  )      Hon. John Z. Lee
ALLIED INTERNATIONAL CREDIT CORP.,                )
(USA),                                            )      Magistrate Judge Jeffrey T. Gilbert
                                                  )
             DEFENDANT.                           )


                               INITIAL STATUS REPORT


      1.     Nature of The Case

             A. The names and contact information for all attorneys of record are:

             For Plaintiff
             Celetha Chatman
             Michael J. Wood
             Community Lawyers Group, Ltd.
             73 W. Monroe, Suite 514
             Chicago, IL 60603
             Tel: 312-757-1880
             Fax: 312-265-3227
             Email:cchatman@communitylawyersgroup.com
             Email:mwood@communitylawyersgroup.com

             For Defendant
             Joseph D. Kern
             Hinshaw & Culbertson LLP
             151 North Franklin Street, Suite 2500
             Chicago, IL 60606
             Ph: 312-704-3417
             Email: JKern@hinshawlaw.com




	
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            B. Jurisdiction

                      i.   This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA,

                           and 28 U.S.C. § 1331.

                     ii.   Plaintiff, Isaiah Campos (“Plaintiff’), is a resident of the State of

                           Illinois, from whom Defendant attempted to collect a delinquent

                           consumer debt allegedly owed for a defaulted consumer credit

                           account.

                    iii.   Defendant, Allied International Credit Corp., (USA), (“AIC”), is a

                           Delaware corporation that does or transact business in Illinois.

            C. Nature of the Claims:

                      i.   AIC misrepresented the character of an alleged debt, in violation of

                           15 U.S.C. §§ 1692e, 1692e(2)(a) and 1692e(5) when it falsely

                           stated the balance of an alleged debt was subject to potential

                           “interest or other charges” when it would not change at a later date.

                     ii.   AIC failed to effectively state the name of the creditor to whom the

                           debt is owed, in violation of 15 U.S.C. § 1692g(a)(2). See Braatz v.

                           Leading Edge Recovery Sols., LLC, No. 11 C 3835, 2011 WL

                           9528479, at *1 (N.D. Ill. Oct. 20, 2011); Walls v. United

                           Collection Bureau, Inc., No. 11 C 6026, 2012 WL 1755751, at *2

                           (N.D. Ill. May 16, 2012).

            D. Major Legal & Factual Issues

                      i.   For the Plaintiff: The keys issues for the Plaintiff will be whether

                           Defendant is a debt collector; whether defendant was allowed to



	
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                           charge interest or other charges on the account; whether the debt is

                           a consumer debt, and the validity of Defendant’s affirmative

                           defenses.

                     ii.   For the Defendant: Key issues include (1) whether the Court has

                           jurisdiction over this matter pursuant to an arbitration clause, class

                           action waiver, and forum selection clause in the agreement

                           underlying the account; (2) and whether the debt at issue was a

                           “consumer debt” such that the FDCPA would apply.

            E. Plaintiff seeks Under the FDCPA

                    i. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

                    ii. Statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)

                   iii. Costs and reasonable attorney fees pursuant to 15 U.S.C. §

                       1692k(a)(3); and

                   iv. Such other or further relief as the Court deems proper.

     2. Pending Motions:

            A. The initial status hearing is set for July 10, 2018 at 9:00 a.m.

            B. Currently there are no motions pending before the court.

     3. Consent to Proceed Before a United States Magistrate Judge

            A. The Parties do not unanimously consent to proceed before the magistrate

                judge on all matters.

     4. Discovery Schedule:

         Plaintiff proposes the following discovery schedule:

            A. MIDP Responses by July 27, 2018




	
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               B. Fact Discovery to close by January 31, 2019

               C. Dispositive Motions to be filed by February 28, 2019.

        5. Status of Settlement Discussions:

               A. Plaintiff has not made a class demand.

               B. Parties do not request a settlement conference at this time.


Dated: July 2, 2018

    Counsel for Plaintiff                          Counsel for Defendant
    s/Celetha Chatman                              s/ Joseph Kern
    Celetha Chatman                                Joseph D. Kern
    Michael J. Wood                                Hinshaw & Culbertson LLP
    Community Lawyers Group, Ltd.                  151 North Franklin Street, Suite 2500
    73 W. Monroe, Suite 502                        Chicago, IL 60606
    Chicago, IL 60603                              Ph: 312-704-3417
    Tel: 312-757-1880                              Email: JKern@hinshawlaw.com
    Fax: 312-265-3227
    Email:
    cchatman@communitylawyersgroup.com
    mwood@communitylawyersgroup.com 	




	
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                                                   CERTIFICATE OF SERVICE

                          I, Celetha Chatman, an attorney, hereby certify that on July 2, 2018, I electronically filed

                 the foregoing document using the CM/ECF system, which will send notification of such filing to

                 all attorneys of record.


                     Dated: June 14, 2017                                                     Respectfully submitted,


                                                                                          By:    /s/ Celetha Chatman
                                                                                          One of Plaintiff’s Attorneys
                 	
                 	
                                                                    	
                 	
                 	
                 	
                 	
                 	
                 	




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